     Case: 1:23-cv-03053 Document #: 53 Filed: 05/30/23 Page 1 of 4 PageID #:222




David R. Marriott
dmarriott@cravath.com
T+1-212-474-1430
New York


May 30, 2023

Federal Trade Commission v. Amgen Inc., et al., No. 23-cv-03053 (N.D. Ill.)

Dear Judge Kness:

        This firm and Sullivan & Cromwell LLP represent Defendant Amgen Inc. (“Amgen”) in
the above-titled matter. All parties have agreed to all of the terms of a proposed Case
Management Order (“CMO”), except for certain dates in the proposed schedule. The parties
submitted a joint motion earlier today regarding entry of a CMO, and agreed to write separately
to the Court with respect to the disputed dates. This letter is respectfully submitted by
Defendants Amgen and Horizon Therapeutics PLC (“Horizon”) (collectively, “Defendants”) in
support of their proposed schedule.

Background

       The Federal Trade Commission (“FTC”) commenced this action on May 16, 2023,
seeking a temporary restraining order (“TRO”) and preliminary injunction (“PI”) blocking
Amgen from acquiring Horizon. The FTC’s complaint raises novel antitrust claims which the
agency describes only in broad generalities.1 Defendants believe the acquisition is lawful, the
FTC’s allegations are baseless, and there is no cause for a TRO or PI. Defendants nevertheless
consented to the entry of a TRO of a limited duration in order to give the Court a full and fair
opportunity to review the FTC’s allegations and issue a decision.

        The parties previously negotiated a CMO, including a schedule, that would allow the case
to be tried in August, on the assumption the Court could hold a hearing beginning on August 14,
2023. However, during the case management conference held on May 23, 2023, the Court
advised the parties that it could not begin a hearing in this matter until September 11, and
directed the parties to submit a revised schedule, including discovery and briefing deadlines.

       Following the May 23 conference, the parties met and conferred about a revised schedule
and reached agreement on the majority of dates, covering the beginning and end of the
timetable. We have, however, been unable to agree on certain key interim dates. Defendants
proposed simply to extend the already-agreed-upon dates by a few weeks, retaining the essence



     1 See Antitrust Gone Wild Against Amgen, WALL ST. J. (May 18, 2023 6:44 PM),

https://www.wsj.com/articles/federal-trade-commission-lina-khan-antitrust-amgen-horizon-therapeutics-holly-
vedova-43bba80b.
    Case: 1:23-cv-03053 Document #: 53 Filed: 05/30/23 Page 2 of 4 PageID #:223



of the parties’ prior agreement and affording the parties some additional time following the
close of briefing to prepare for trial. In contrast, the FTC first proposed a significant extension
of the date by which it would submit its memorandum in support of a PI (“PI memorandum”)
and its expert reports—significantly delaying the disclosure of the FTC’s specific factual
allegations and the legal basis for its novel claims—and then proposed (in the alternative) to
stagger briefing and expert reports in a way that would unnecessarily complicate and potentially
weaken Defendants’ briefing to the Court.

Defendants’ Proposal

        Defendants’ proposed schedule is set out in the below table, which also reflects the
parties’ original agreement (assuming an August hearing date) and the FTC’s new proposal:

                                                    Prior           Defs’         FTC’s
                       Event
                                                   Agrm’t         Proposal      Proposal
     Exchange of Preliminary Witness Lists       May 26         June 2          June 2
     Defendants’ Response to Plaintiff’s
                                                June 2          June 9          June 9
     Complaint
     Exchange of Supplemental Witness Lists June 9              June 20         June 20
     Plaintiff’s Memorandum of Law in
     Support of Preliminary Injunction          June 27         July 7          July 28
     Motion
     Plaintiff’s Opening Expert Reports         June 27         July 7          July 28
     Close of Fact Discovery                    July 26         Aug. 9          July 26
     Defendants’ Opposition to Plaintiff’s
     Motion for Preliminary Injunction and      July 28         Aug. 21         Aug. 21
     Defendants’ Expert Reports
     Plaintiff’s Reply Brief in Further Support
     of Motion for Preliminary Injunction and Aug. 4            Sept. 1         Sept. 1
     Plaintiff’s Rebuttal Expert Reports
     Deadline to Serve Final Witness Lists
                                                 Aug. 7         Sept. 6         Sept. 6
     and Proposed Exhibit Lists
     Deadline to Complete Expert Depositions Aug. 9             Sept. 6         Sept. 6
     Final Pre-Trial Conference              Aug. 11            Sept. 8         Sept. 8
     Evidentiary Hearing Begins              Aug. 14            Sept. 11        Sept. 11
     Opening Post-Trial Briefs and Proposed 10 days
                                                                Sept. 29        Sept. 29
     Findings of Fact and Conclusions of Law after hr’g

        As the table shows, the parties are in agreement as to all but a few deadlines: the
deadline for the FTC’s PI memorandum and opening expert reports and the deadline for the
close of fact discovery (all bolded and italicized).

        Defendants seek to close discovery on August 9 instead of July 26, because Defendants
anticipate needing two more weeks of discovery than is permitted under the FTC’s proposal. To
date, Defendants have had very little opportunity for discovery. In contrast, the FTC had the
opportunity to take one-way discovery of Defendants and numerous third parties as part of its
private investigation before filing its complaint. Defendants collectively produced more than 1.2
million documents to the FTC from 74 custodians. The FTC also received productions from 19


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    Case: 1:23-cv-03053 Document #: 53 Filed: 05/30/23 Page 3 of 4 PageID #:224



third parties and conducted no less than 12 “investigational hearings” (similar to depositions in
a civil case). Defendants’ request for two weeks of additional discovery given the FTC’s huge
head start is, we submit, both necessary and not unreasonable.

         Similarly, Defendants propose that the FTC submit its PI memorandum and opening
expert reports on July 7 instead of July 28, because the FTC’s July date would not only give the
agency more time than it previously stated it requires, but would leave Defendants with
comparatively little time to respond to the FTC’s novel allegations, after they receive the FTC’s
brief and expert reports. When Defendants advised the FTC that they were willing to agree to a
TRO (to give the Court adequate time to review the FTC’s motion), the FTC advised Defendants
that it could submit its PI memorandum by June 14 (more than six weeks before the FTC’s
current proposed date). Thereafter, when the parties were planning for a potential hearing in
August, the FTC agreed to submit its PI memorandum and any supporting expert materials by
June 27 (more than four weeks before the FTC’s current proposed date). But now that the
hearing date is in September, the FTC proposes to give itself another four weeks to submit its
opening papers, while leaving Defendants with less time respond to the FTC’s brief and experts.
The FTC should not be permitted that extra time, at Defendants’ expense. The FTC’s proposed
schedule would allow it to push back important key disclosures regarding its novel theory here,
while squeezing Defendants’ response time. That proposal will prejudice Defendants and should
be rejected.

FTC’s Proposal

        During the parties’ meet-and-confer discussions, the FTC’s only justification for its
revised schedule was that it is traditional for discovery to close before a PI motion is briefed and
expert reports are submitted. We are aware of no authority for that proposition but, even if true,
it would be of little help to the FTC here. The FTC seeks extraordinary relief after a lengthy
investigation during which only the FTC conducted discovery. Unlike Defendants, the FTC will
have an opportunity to submit both a reply brief and reply expert reports after the close of fact
discovery. The FTC will not be deprived of any opportunity to bring to the Court’s attention
information unearthed after the submission of its PI memorandum and opening expert reports.
Moreover, the proposed CMO already expressly provides that it “does not preclude any party
from subsequently relying on evidence, including in court filings, arguments, and expert reports,
that was not produced at the time of initial expert reports or briefs.”

       As an alternative to the FTC’s primary proposal, it suggested during the meet-and-confer
process that the parties could first submit legal memoranda and then later serve expert reports.
The idea, as we understand it, was to tell Defendants more about the FTC’s case a little sooner,
but without any supporting expert material. While we appreciated the gesture, the disclosure of
the FTC’s brief without supporting expert material would likely provide little more than the
information included in the complaint. What’s more, staggering briefs and expert reports would
merely compound the challenges of preparing for the hearing. It would result in the parties
submitting briefs to the Court before their experts reports were submitted, preventing them
from citing the reports in the briefs so as to provide the Court with an integrated submission.
Motion papers devoid of citations to expert materials would likely be unhelpful to the Court and
require subsequent, incomplete and inefficient cross-referencing.




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    Case: 1:23-cv-03053 Document #: 53 Filed: 05/30/23 Page 4 of 4 PageID #:225



      For all of the foregoing reasons, Defendants respectfully request that the Court adopt
Defendants’ proposed schedule as to the disputed dates.

                                                Respectfully submitted,

                                                /s/ David R. Marriott

                                                David R. Marriott


Honorable John F. Kness
  Everett McKinley Dirksen United States Courthouse
      219 South Dearborn Street
          Chicago, IL 60604

Copy to:

All counsel of record (via ECF)




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